
USCA1 Opinion

	










                            United States Court of Appeals
                                For the First Circuit

                                 ____________________


        No. 96-1420

                              UNITED STATES OF AMERICA,

                                 Plaintiff, Appellee,

                                          v.

                          RAFA L NORIEGA-MILL N, A/K/A RAFI,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. H ctor M. Laffitte, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                     Campbell and Bownes, Senior Circuit Judges.
                                          _____________________

                                 ____________________

            Juan David Vilar -Col n on brief for appellant.
            _______________________
            Jeannette Mercado-R os, Attorney, with whom Guillermo Gil, United
            ______________________                      _____________
        States Attorney, Jos  A. Quiles-Espinosa, Senior Litigation Counsel,
                         _______________________
        and Antonio R. Baz n, Assistant United States Attorney, were on brief
            ________________
        for appellee.



                                 ____________________

                                    April 7, 1997
                                 ____________________





















                      BOWNES, Senior Circuit Judge.   Defendant-appellant
                      BOWNES, Senior Circuit Judge.
                              ____________________

            Rafael Noriega-Millan petitioned the district court to change

            his plea from not guilty to guilty as to all eleven counts of

            a superseding indictment charging him with violating a number

            of  federal firearms  laws.   Count  nine, charging  Noriega-

            Millan  with possession of a  machine gun in  violation of 18

            U.S.C.    922(o),   carried  a   ten-year  maximum   term  of

            imprisonment.  For each of the remaining  counts, the maximum

            term of  imprisonment was  five years.    The district  court

            accepted  Noriega-Millan's plea  at  a  joint  change-of-plea

            hearing at which Noriega-Millan and two of his co-defendants,

            each represented by counsel, pleaded guilty.  

                      Noriega-Millan  entered his guilty plea pursuant to

            an  agreement which  stipulated  that  the government  would,

            among other things, reduce the total offense level from 31 to

            28,  and recommend a sentence of 97 months of imprisonment, a

            sentence in  the  middle of  the applicable  range of  87-108

            months  of  imprisonment.   At  the  sentencing hearing,  the

            district   court  declined   to   accept   the   government's

            recommendation  of a  97-month term  and imposed  the maximum

            sentence of 108 months,  to be served concurrently as  to all

            counts of the indictment.

                      On  appeal, Noriega-Millan  argues that  his guilty

            plea should be set aside because, although the district judge

            complied with Rule  11(e)(2) of the Federal Rules of Criminal



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            Procedure by warning him that the court was not  bound by the

            government's recommendations, the judge failed, in derogation

            of Rule 11(e)(2) and Noriega-Millan's substantial rights,  to

            advise him that  he would  not be permitted  to withdraw  his

            plea  if  the  court  declined  to  accept  the  government's

            recommendations.   We affirm  the judgment of  conviction and

            the sentence.  

                                         I.  
                                         I.

                      The only issue on  appeal concerns the procedure by

            which  Noriega-Millan's  plea  of  guilty  was  entered   and

            accepted, as to which the record reveals the following.  

                      Noriega-Millan's  plea  agreement  states that  the

            agreement  was made pursuant to Rules 11 (e)(1)(A) and (B) of

            the  Federal Rules  of  Criminal Procedure.1   The  agreement

            provided that Noriega-Millan would plead guilty to all counts

            of the indictment in  exchange for the government's agreement

            to  do the following: (i)  reduce the total  offense level by

            three levels  from 31 to 28 for acceptance of responsibility;

            (ii) recommend a sentence of 97 months of imprisonment, based

            upon  an estimated  total offense  level  of 28  and criminal

            history category of II, for which the sentencing range is 87-

            108 months of imprisonment; and (iii) raise no opposition  to

                                
            ____________________

            1.  Plea agreements made under  Rules 11(e)(1)(A) and (C) are
            subject  to  different   procedural  requirements  than   are
            agreements made under Rule 11(e)(1)(B).  The Rule 11(e)(1)(A)
            portion of Noriega-Millan's agreement is not at issue in this
            appeal and will not be discussed.

                                         -3-
                                          3















            a  recommendation of  a  sentence at  the  lower end  of  the

            applicable range, if such a recommendation were to be made by

            the United States Probation Office in its Presentence Report.

             

                      Prior to the change-of-plea hearing, Noriega-Millan

            reviewed the plea agreement with his attorney, at  which time

            he initialed each  page of the document at  the center of the

            left margin,  and signed his name in two places at the end of

            the document.2   Paragraph  six of  the  agreement states  as

            follows:

                           The  defendant  is  aware  that  the
                      defendant's sentence is within  the sound
                      discretion  of  the sentencing  judge and
                      will  be imposed  in accordance  with the
                      United   States   Sentencing  Guidelines,
                      _________________________________________
                      Policy   Statements,   Application,   and
                      _________________________________________
                      Background Notes.  The defendant is aware
                      ________________
                      that  the  Court  has   jurisdiction  and
                      authority to impose  any sentence  within
                      the statutory maximum set for the offense
                      to which the defendant pleads guilty.  If
                      the Court should impose  a sentence up to
                      the maximum established  by statute,  the
                      defendant cannot, for that  reason alone,
                      withdraw a  guilty plea, and  will remain
                      bound  to fulfill all  of the obligations
                      under this plea agreement. 

                      Paragraph  ten of the  agreement states, "Defendant

            Rafael  Noriega Millan is fully  aware that the  Court is not

            bound by  this plea agreement, including but  not limited to:


                                
            ____________________

            2.  The plea agreement contained  in the record on  appeal is
            in  English; the  transcript of  the change-of-plea  hearing,
            however,  indicates   that   Noriega-Millan  had   read   and
            understood a Spanish version of the agreement. 

                                         -4-
                                          4















            sentencing  guidelines   calculations,  stipulations,  and/or

            sentence recommendations."

                      In  contrast to  plea  agreements made  pursuant to

            Rules 11(e)(1)(A) and (C), Rule 11(e)(1)(B) agreements cannot

            be withdrawn if  the court chooses to reject the terms of the

            agreement;  once  accepted  by  the district  court,  a  Rule

            11(e)(1)(B) agreement "foreclose[s]  forever the  defendant's

            other options."  United States v. Graibe, 946 F.2d 1428, 1432
                             _____________    ______

            (9th  Cir. 1991).  For  this reason, when  a defendant pleads

            guilty pursuant to a Rule 11(e)(1)(B) agreement, the district

            judge  is required by  Rule 11(e)(2) to  advise the defendant

            that the  court is not  obligated to accept  the government's

            recommendations and that the  defendant will not be permitted

            to withdraw her guilty plea in  the event that the court does

            not follow the government's recommendations.  

                      The  Supreme Court has  stressed the  importance in

            Rule 11 proceedings of  direct interrogation of the defendant

            by   the  district   court   in  order   to  facilitate   the

            determination of  the voluntariness  of a defendant's  guilty

            plea.  McCarthy v.  United States, 394 U.S. 459,  467 (1969).
                   ________     _____________

            In  addition,  this  court  has repeatedly  stated  that  the

            defendant's  acknowledgement  of a  signed plea  agreement or

            other  written document  will  not substitute  for Rule  11's

            requirement of  personal examination by  the district  court.

            See  United States v.  Martinez-Martinez, 69 F.3d  1215, 1220
            ___  _____________     _________________



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                                          5















            (1st Cir. 1995), cert. denied, --- U.S. ---, 116  S. Ct. 1343
                             _____ ______

            (1996); United States v. Lopez-Pineda,  55 F.3d 693, 696 (1st
                    _____________    ____________

            Cir.), cert. denied, --- U.S. ---, 116 S. Ct. 259 (1995); see
                   _____ ______                                       ___

            also  United States v.  Kennell, 15 F.3d  134, 136,  137 (9th
            ____  _____________     _______

            Cir. 1994).     

                      A joint change-of-plea hearing was held on July 31,

            1995, with Noriega-Millan and two co-defendants present, each

            represented  by  counsel.    Although   the  judge  sometimes

            addressed  himself to all  three defendants  collectively, he

            engaged in individual colloquies with Noriega-Millan and each

            co-defendant regarding the following: his competence to plead

            guilty;  the voluntariness  of  his plea;  his knowledge  and

            understanding of  the charges  against him and  the penalties

            attending  the  charges; and  whether  he  had consulted  his

            attorney  regarding the charges and the  plea agreement.  The

            judge addressed the  defendants collectively regarding  their

            awareness and understanding of the constitutional rights they

            waived by entering a plea of guilty.  Throughout the hearing,

            the court  addressed the  defendants through an  interpreter,

            although  Noriega-Millan  sometimes   answered  the   court's

            questions in English.

                      In response to  the court's questioning during  his

            individual colloquy, Noriega-Millan acknowledged, inter alia,
                                                              _____ ____

            that  he had reviewed the plea  agreement with the assistance

            of  counsel prior to the  hearing, and that  his attorney had



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                                          6















            explained the agreement to  him before he signed it;  that he

            had  read the plea agreement and understood everything in it;

            that he was aware  that his criminal history category  was II

            and  that  the total  offense level  was  28, based  upon the

            government's  recommendation of a  three-level reduction from

            offense level  31 for  acceptance of responsibility;  that he

            understood that  the sentencing  range specified in  the plea

            agreement was 87-108  months of imprisonment; that,  pursuant

            to  the  plea agreement,  the  government  would recommend  a

            sentence of 97 months of imprisonment; and that he understood

            that the government's  recommendations were not  binding upon

            the court.  

                      The district judge gave  the Rule 11(e)(2) warnings

            to  each  defendant  separately,   rather  than  to  all  the

            defendants  collectively.   During his  individual colloquies

            with  Noriega-Millan's  co-defendants,  the   district  judge

            warned each defendant both that  the court was not  obligated

            to accept  the  government's  recommendations  and  that  the

            defendant  would not be permitted to withdraw his plea if the

            court  did  not  follow  the   government's  recommendations.

            During his individual  colloquy with Noriega-Millan, however,

            the  district judge advised him  only that the  court was not

            bound to follow the  government's recommendations; he did not

            warn  Noriega-Millan  that  he  would  not  be  permitted  to

            withdraw  his  plea  in   the  event  that  the  government's



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                                          7















            recommendations were not followed.  On  November  2, 1995,  a

            sentencing hearing was held at which  Noriega-Millan appeared

            as  the sole defendant, again represented by counsel.  At the

            sentencing hearing,  as at  the  change-of-plea hearing,  the

            district  judge warned that  the government's recommendations

            were not binding upon  the court but did not  advise Noriega-

            Millan that he  would not be allowed to  withdraw his plea if

            the court were to reject the government's recommendations.  

                      After  permitting  Noriega-Millan  to  address  the

            court   regarding  his   family  ties   and  his   desire  to

            rehabilitate   himself,  the  district   court  accepted  the

            government's recommendation regarding  concurrent service  of

            sentence but  rejected its recommendation of  a 97-month term

            of imprisonment,  instead  sentencing Noriega-Millan  to  the

            maximum term  of 108 months,  to be served  concurrently with

            the sentences imposed on other counts.  Noriega-Millan raised

            no  objection to the sentence and made no attempt to withdraw

            his plea in the district court.  This appeal followed.

                                         II. 
                                         II.

                      Federal  Rule  of  Criminal Procedure  11(e)(1)(B),

            which  governs Noriega-Millan's  plea  agreement, provides  a

            procedure by which a  defendant may agree to plead  guilty in

            exchange  for   the   government's  agreement   to  "make   a

            recommendation, or agree[ment] not to oppose the  defendant's

            request,  for a  particular sentence, with  the understanding



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                                          8















            that such recommendation or request shall not be binding upon

            the court."  Rule 11(e)(2) provides that, before the district

            court may accept  a guilty  plea entered pursuant  to a  Rule

            11(e)(1)(B)  agreement, "the court shall advise the defendant

            that  if the  court  does not  accept  the recommendation  or

            request the  defendant nevertheless has no  right to withdraw

            the plea."

                      Noriega-Millan  asserts  that he  did  not  move to

            withdraw his  plea prior to  sentencing because he  had hoped

            that  the  district  court  would  follow  the   government's

            recommendation  of a 97-month sentence, and that he would not

            have pleaded guilty had he known that he would not be allowed

            to withdraw his plea if the district court did not follow the

            government's recommendation.   He contends that  the district

            court's  failure  to  give  this  required  warning  was  not

            harmless  error because, as a result of the court's error, he

            did not understand the consequences  of his guilty plea  and,

            therefore,   his  plea  was  not  knowingly  and  voluntarily

            entered.  Noriega-Millan raises these arguments for the first

            time on appeal.  

                      Ordinarily, we deem an  issue not raised before the

            district  court to  be waived.   We will,  however, determine

            compliance with  Rule 11, even  if a claim  of non-compliance

            was not presented  in the  district court, if  the record  is

            sufficiently developed, which  is generally the  case because



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                                          9















            of Rule 11(g)'s  requirement that the  district court make  a

            complete  record  of the  plea  proceedings.   See  Martinez-
                                                           ___  _________

            Martinez,  69 F.3d  at 1219  &amp; n.4;  United States  v. Parra-
            ________                             _____________     ______

            Ibanez, 936 F.2d 588, 593 (1st Cir. 1991).3  
            ______

                      Where, as here, the defendant seeks to withdraw his

            plea after he has been sentenced, based  upon a defect in the

            Rule  11 proceedings  that is  alleged to  have  affected his

            knowledge of  the consequences of his  plea, appellate review

            is  entirely  consistent  with  Federal  Rules   of  Criminal

            Procedure  11 and 32(e).  First, the harm alleged by Noriega-

            Millan is clearly of the type that Rule 11(e)(2) was designed

            to alleviate.  See United States v. Theron, 849 F.2d 477, 479
                           ___ _____________    ______

            (10th Cir. 1988); see also United States v. Padin-Torres, 988
                              ___ ____ _____________    ____________

            F.2d  280, 283  (1st  Cir. 1993)  (explaining  that "Rule  11

            objections, so far as they affect the 'knowing'  character of

            the plea,  are treated  with extra solicitude");  Graibe, 946
                                                              ______

            F.2d at 1432 (explaining that  Rule 11(e)(2) was designed  to

            ensure  the   "informed  voluntariness"  of   guilty  pleas).

            Moreover,  Rule 32(e)  --  which provides  that the  district

            court  may permit a defendant to withdraw his guilty plea for

            "any fair  and just reason"  before sentence is  imposed, but
                                         ______


                                
            ____________________

            3.  If the determination of  compliance with Rule 11 requires
            additional fact  finding, "a defendant cannot  seek relief on
            direct  appeal,  but must  collaterally  attack  the Rule  11
            proceedings under  28 U.S.C.   2255."   Martinez-Martinez, 69
                                                    _________________
            F.3d at 1219 (citing  Parra-Ibanez, 936 F.2d at 593;  Fed. R.
                                  ____________
            Crim. P. 32(e)). 

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            that a defendant who seeks to set aside his guilty plea "[a]t

            any later time" may raise the claim "only on direct appeal or

            by  motion  under  28 U.S.C.     2255"  --  plainly allows  a

            defendant  who seeks to set aside his plea after sentence has

            been imposed to  do so on direct  appeal.  Where  a defendant

            challenges  the  validity of  a plea  for  the first  time on

            appeal, however, "he  or she  faces a high  hurdle," and  can

            succeed only  by demonstrating that there  was "a substantial

            defect in the Rule  11 proceeding itself."  United  States v.
                                                        ______________

            Miranda-Santiago,  96  F.3d  517, 522  &amp;  nn.8,  9 (1st  Cir.
            ________________

            1996).4     

                      Because  a  defendant  who  enters  a  guilty  plea

            "simultaneously   waives   several  constitutional   rights,"

            McCarthy,  394 U.S.  at 466,  due process  requires that  the
            ________

            defendant's  entry of a guilty plea  be a voluntary, knowing,

            and intelligent  act, "done with sufficient  awareness of the

            relevant  circumstances  and  likely consequences,"  Brady v.
                                                                 _____

            United States,  397 U.S. 742, 748  (1970) (footnote omitted).
            _____________

            Rule 11 gives effect to this  principle by requiring district

                                
            ____________________

            4.  Although  Rule 11(h) provides  that "[a]ny  variance from
            the procedures required  by this rule  which does not  affect
            substantial rights shall be disregarded," the harmless  error
            rule does not necessarily mandate  the standard of review  in
            this  case.  As we  have previously acknowledged,  the law in
            this circuit regarding the  burden of an appellant who  seeks
            to  set aside a guilty  plea on direct  appeal, without first
            having  brought a motion to withdraw the plea in the district
            court, is  "somewhat cloudy."  See  Miranda-Santiago, 96 F.3d
                                           ___  ________________
            at 522  n.9 (citing  Martinez-Martinez, 69 F.3d  at 1219-20).
                                 _________________
            We need not resolve the issue in this case.

                                         -11-
                                          11















            courts to follow certain  procedures "designed to ensure that

            defendants   who  enter   guilty  pleas   do  so   with  full

            understanding   of  the   nature  of   the  charge   and  the

            consequences of their  plea."  Lopez-Pineda,  55 F.3d at  695
                                           ____________

            (citations,   internal   quotation   marks,  and   alteration

            omitted).   Compliance with Rule 11's  procedures enables the

            district court  to determine for itself  the voluntariness of

            the  plea  and   "facilitates  that   determination  in   any

            subsequent post-conviction proceeding based upon a claim that

            the plea was involuntary."   Id. at 696  (citations omitted).
                                         ___

            We determine the  validity of a plea in view  of the totality

            of  the   circumstances  surrounding  the  Rule  11  hearing.

            Miranda-Santiago, 96 F.3d at 522-23 &amp; n.11; United States  v.
            ________________                            _____________

            Cotal-Crespo, 47 F.3d 1, 4 (1st Cir.), cert. denied, --- U.S.
            ____________                           _____ ______

            ---, 116 S. Ct. 94 (1995); Padin-Torres, 988 F.2d at 284. 
                                       ____________

                      The  effect of  a failure  to comply  with  Rule 11

            depends upon the nature of the failure.   This court has held

            that  a guilty plea should  be set aside  only for violations

            that implicate the  "core concerns"  of Rule 11  and not  for

            mere   technical   violations   of   the   rule's  procedural

            requirements.  See, e.g., Cotal-Crespo,  47 F.3d at 4; United
                           ___  ____  ____________                 ______

            States v. Allard, 926 F.2d 1237,  1244 (1st Cir. 1991).  This
            ______    ______

            is  "especially true if the  defendant was not  misled or the

            omission did not affect  his decision."  Allard, 926  F.2d at
                                                     ______

            1244.    Rule 11's  core  concerns are  absence  of coercion,



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            understanding   of   the  charges,   and  knowledge   of  the

            consequences of the  guilty plea.  See Cotal-Crespo,  47 F.3d
                                               ___ ____________

            at  4 (citing Allard, 926  F.2d at 1244-45).   In determining
                          ______

            whether the core concerns of Rule 11 have been satisfied, the

            court "should not  exalt form over substance  but should look

            to  the reality of the  situation as opposed  to the ritual."

            Allard, 926 F.2d at 1245.  
            ______

                      In  claiming  that, as  a  result  of the  district

            judge's failure to give  the second of the two  Rule 11(e)(2)

            warnings,  he  did not  understand  the  consequences of  his

            guilty plea, Noriega-Millan raises a core concern of Rule 11.

            Nonetheless, we cannot  set aside a plea  where the appellant

            "has  suffered no  concrete prejudice  other than  entering a

            plea he now regrets."  United States v. Zorilla, 982 F.2d 28,
                                   _____________    _______

            31 (1st Cir. 1992).  We find that, in view of the totality of

            the circumstances,  the  district court's  failure to  advise

            Noriega-Millan that he would not be permitted to withdraw his

            plea  did  not amount  to a  substantial  defect in  the plea

            proceedings and  did not, as Noriega-Millan claims, adversely

            affect his substantial rights.  "The heart of  the matter  is

            whether the defendant would have  entered the guilty plea had

            he  known  that  there  was  a  probability  of  receiving  a

            substantially  greater sentence than  that recommended in the

            plea agreement."  Kennell, 15  F.3d at 136.  See  Allard, 926
                              _______                    ___  ______

            F.2d at  1244; United  States v.  Diaz-Vargas, 35 F.3d  1221,
                           ______________     ___________



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            1224 (7th Cir. 1994);  United States v. Vaughn, 7  F.3d 1533,
                                   _____________    ______

            1535  (10th Cir.  1993).   The  record reveals,  and Noriega-

            Millan does  not dispute, that the  district judge personally

            warned him that  the court  was not obligated  to follow  the

            government's   sentencing  recommendations,   and  personally

            ensured  that Noriega-Millan  understood  that, although  the

            government had  agreed to recommend a  97-month sentence, the

            maximum sentence that the court could impose  was 108 months.

            Given  these facts and  Noriega-Millan's willingness to plead

            guilty  in exchange for a  97-month sentence, it  seems to us

            highly  unlikely that,  properly warned  of his  inability to

            withdraw his guilty plea once it was accepted, Noriega-Millan

            would  have  chosen  to go  to  trial  rather  than risk  the

            possibility that  the district court might  impose a sentence

            eleven  months  longer   than  the  government's  recommended

            sentence.   We conclude that  the district court's failure to

            warn Noriega-Millan of his inability to withdraw his plea did

            not affect his decision to plead guilty.

                      Our conclusion is  supported by  Martinez-Martinez,
                                                       _________________

            in  which  we  found  the  advisement  requirements  of  Rule

            11(e)(2) to  be satisfied  where the  district judge  did not

            explicitly inform  the defendant that she  could not withdraw

            her guilty plea, but where the court "personally ensured that

            [the  defendant] understood  the  non-binding nature  of  the

            [government's]  recommendation."   69 F.3d  at 1223-24.   Our



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                                          14















            view is also supported by similar  cases from other circuits,

            which  found  the  district  court's failure  to  advise  the

            defendant that he would not be permitted to withdraw his plea

            to be harmless error.  See United States v. McCarthy, 97 F.3d
                                   ___ _____________    ________

            1562, 1574-76  (8th Cir. 1996),  cert. denied, ---  U.S. ---,
                                             _____ ______

            117  S. Ct.  1011  (1997); Diaz-Vargas,  35 F.3d  at 1224-25;
                                       ___________

            United  States v. Thibodeaux,  811  F.2d 847,  848 (5th  Cir.
            ______________    __________

            1987);  United States v. de  le Puente, 755  F.2d 313, 314-15
                    _____________    _____________

            (3d Cir. 1985). 

                      Noriega-Millan  disagrees  with  Martinez-Martinez.
                                                       _________________

            He argues that the proposition that the court is not bound by

            the government's  recommendations is logically  distinct from

            the proposition  that the  defendant is nonetheless  bound if

            the court declines to  accept those recommendations, and that

            notice  of  the  former   proposition  does  not  inform  the

            defendant of the  latter proposition; nor does it relieve the

            court  of its responsibility  to inform the  defendant of the

            latter proposition.  See, e.g., United States v. Zickert, 955
                                 ___  ____  _____________    _______

            F.2d  665, 669  (11th Cir.  1992); Theron,  849 F.2d  at 481;
                                               ______

            United States v. Iaquinta,  719 F.2d 83, 85 (4th  Cir. 1983).
            _____________    ________

            Noriega-Millan  contends,  in  other   words,  that  the  two

            warnings relate  to different  issues and that  Rule 11(e)(2)

            requires the district court to give both warnings.  

                      This  argument  is  not  without  logic  or  force.

            Indeed, a  number  of  courts have  held  that  the  district



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                                          15















            court's failure to  warn the  defendant of  his inability  to

            withdraw  his   guilty  plea   once  it  has   been  accepted

            constitutes reversible  error, and that  the district court's

            warning   that  it   was  not   bound  by   the  government's

            recommendation is  insufficient to render the error harmless.

            See  United States  v. DeBusk,  976 F.2d  300, 307  (6th Cir.
            ___  _____________     ______

            1992); Zickert, 955 F.2d at 668-69; United States v. Ferrara,
                   _______                      _____________    _______

            954 F.2d 103,  107-108 (2d  Cir. 1992); Graibe,  946 F.2d  at
                                                    ______

            1434-35; Theron, 849 F.2d at 481; Iaquinta, 719 F.2d at 85.
                     ______                   ________

                      We  ourselves read Martinez-Martinez as laying down
                                         _________________

            no inflexible  rule but  as considering the  district court's

            warning  as to  the  non-binding nature  of the  government's

            recommendations to  be an  element in the  circumstances that

            bears on the determination of  whether the court's failure to

            warn the defendant of  her inability to withdraw the  plea is

            harmless error.   For the reasons we have stated, we find the

            district  court's  error  to  be harmless  in  this  case and

            therefore we reject  Noriega-Millan's argument that  his plea

            should  be set aside for the district court's failure to warn

            him that he would not be permitted to  withdraw his plea once

            it had been accepted.  Martinez-Martinez, 69 F.3d at 1223-24.
                                   _________________



                                         III.
                                         III.

                      For   the  foregoing   reasons,  the   judgment  of

            conviction and sentence are affirmed.
                                        affirmed
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